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                                     United States Bankruptcy Court
                                      Northern District of Oklahoma
IN RE:

Jason A McClendon                                              Case No.: 09−14088−M
                                                               Chapter: 7
Christina McClendon aka Christina Wood

                                          Debtors

                     NOTICE OF REQUIREMENT TO FILE A CERTIFICATION
               OF COMPLETION OF COURSE IN PERSONAL FINANCIAL MANAGEMENT



       Notice is hereby given that, subject to limited exceptions, a debtor must complete an instructional course in
personal financial management, after the petition is filed, in order to receive a discharge under chapter 7 (11 U.S.C.
§727)or chapter 13 (11 U.S.C. §1328(g)). To obtain a list of qualified training agencies, go to this website −
http://www.usdoj.gov/ust/eo/bapcpa/ccde/index.htm. Pursuant to Rule 1007(b)(7) of the Interim Rules of Bankruptcy
Procedure, the debtor(s) must complete and file Debtor's Certification of Completion of Instructional Course
Concerning Personal Financial Management (Official Form 23) as described in 11 U.S.C. §111. The Debtor's
Certification of Completion of Instructional Course Concerning Personal Financial Management must be filed in all
individual chapter 13 and chapter 7 cases. To obtain a copy of Official Form 23, go to this website −
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#official.

     Date Form 23 is due on or before: 3/15/10
      You must take this course and either: (1) file with the Court, the Certificate of Debtor Education, or (2)
deliver the Certificate of Debtor Education to your attorney for filing in order to receive your discharge.
Please consult your attorney if you have one.

       Debtor(s) and/or debtor(s)' attorney are hereby notified that Official Form 23 must be filed before a discharge
can be entered. Debtor(s) and/or debtor(s)' attorney is/are hereby notified that the debtor(s) in a chapter 7 case must
file Official Form 23 within 45 days after the first date set for the meeting of creditors under §341, and debtor(s) in a
chapter 13 case must file Official Form 23 before the last plan payment is made. Failure to file the certification will
result in the case being closed without an entry of discharge. If the debtor(s) subsequently file(s) a Motion to Reopen
the Case to allow for the filing of the Official Form 23, the debtor(s) must pay the full reopening fee due for filing the
motion.

     If you need further assistance, please call the Clerk's Office at 918−699−4000 or visit our website located at −
www.oknb.uscourts.gov .



Dated: January 29, 2010                                      MICHAEL WILLIAMS
                                                             CLERK, U.S. BANKRUPTCY COURT
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                                CERTIFICATE OF NOTICE
 District/off: 1085-4                  User: admin                        Page 1 of 1                          Date Rcvd: Feb 01, 2010
 Case: 09-14088                        Form ID: finmgmt                   Total Noticed: 1

 The following entities were noticed by first class mail on Feb 03, 2010.
 db/jdb       +Jason A McClendon,   Christina McClendon,   602 N 10th,    Collinsville, OK 74021-2121
 The following entities were noticed by electronic transmission.
 NONE.                                                                                                               TOTAL: 0
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Feb 03, 2010                                       Signature:
